                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     SOUTHERN DIVISION
                                     NO. 7:20-CR-00032-BR


UNITED STATES OF AMERICA                        :
                                                :
                   v.                           :
                                                :
LAMONT MERRITT LEE                              :


                                    ORDER OF FORFEITURE

          WHEREAS, pursuant to the entry of a plea of guilty by the defendant on June 7, 2021 to a

violation of 18 U.S.C. §§ 922(g) and 924, and pursuant to all other evidence of record, the Court

finds that the following personal property is hereby forfeitable pursuant to 18 U.S.C. § 924(d)(1),

to wit:

               •   A Ruger LC9S 9mm semi-automatic pistol, bearing serial number 327-48987, and

               •   All associated ammunition;

          AND WHEREAS, by virtue of said finding, the United States is now entitled to

possession of said personal property, pursuant to Fed. R. Crim. P. 32.2(b)(3);

          It is hereby ORDERED, ADJUDGED and DECREED:

          1.       That based upon the Guilty Plea as to the defendant, and all other evidence of

record, the United States is hereby authorized to seize the above-stated personal property, and it is

hereby forfeited to the United States for disposition in accordance with the law, including

destruction, as allowed by Fed. R. Crim. P. 32.2(b)(3). In accordance with Fed. R. Crim. P.

32.2(b)(4)(A), this Order shall become final as to the defendant at sentencing.

          2.    That upon sentencing and issuance of the Judgment and Commitment Order, the Clerk

of Court is directed to incorporate a reference to this Order of Forfeiture in the applicable section



               Case 7:20-cr-00032-BR Document 47 Filed 09/27/21 Page 1 of 2
of the Judgment, as required by Fed. R. Crim. P. 32.2(b)(4)(B).

       This 27 September 2021.




                                                    __________________________________
                                                    W. Earl Britt
                                                    Senior U.S. District Judge




                                               2




          Case 7:20-cr-00032-BR Document 47 Filed 09/27/21 Page 2 of 2
